Case 2:04-cr-20081-.]PI\/| Document 117 Filed 05/27/05 Page 1 of 2 Page|D 190

UNITED STATES DISTRICT COURT
FOR THE

WESTERN DISTRICT OF TENNESSEE

 

35 F?f`§`i' 27 FH 31 Sf
++¢o++¢000+0¢0+¢¢0000000.00+00+0¢+.++0¢ a_

" r“i<,`:_l,=. _ . ii'UE¥:l)
L,LEF~€:`<_§, 1).;.3, DES'E‘. CT.
W, 0 -5_91 "Ve‘\: r~»%E?`/:PF»HS

UNITED STATES OF AMERICA )
)
vs. )
) CR No. 04-20081-Ml
JAMIE DAWN FORRESTER )
Tomis #388597 )
)

Bkg. #28052

APPLICATION. ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
Dan L. Newsom applies to the Court for a Writ to have Jamie Dawn Forrester, now being
detained in the Obion County Jail, #1 Law Lane, Union City, Tennessee 38261, (731} 885-5832, (731)

885-6562 (fax) appear before the Honorable Jon Phipps McCalla on July 21, 2005, at 2:30 p.m. for

 
 
   

Re-sentencing and for such other appearances as this Co rt may direct.

Respectfully submitted this § day of Ma}j, 20 \5.

  
   

I)an `b. Newsom
Assistant U. S. Attorney

§§§00§0.§.§.§00§.§.¢.§40.0¢¢§+.§+00..§.

Upon consideration of the foregoing Application,
DAVlD G. JOLLEY, U.S. MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN
SHERIFF!WARDEN, .Ierry Vastbinder

YOU ARE HEREBY COMMANDED to have Jamie Dawn Forrester appear before the Honorabie Jon

Phipps McCaila at the date and time aforementioned.

*f h
ENTERED this 02 7day of ?WM ,2005.

f /<@/m 76 %¢/W’

UNITED STATES MAGISTRATE JUDGE

 

Thts doct.ment entered on the docket sheet in compliance
with ama 55 and,'or azcb) Fach on U ' v

t17

DISTRIC COURT -WESTER D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 117 in
case 2:04-CR-20081 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

Eugene A. Laurenzi

GODWIN MORRIS LAURENZI & BLOON[FIELD, P.C.
50 N. Front St.

Ste. 800

1\/1emphis7 TN 38103

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

1\/1emphis7 TN 38103

Dan NeWSom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

